                            Case 21-16343      Doc 2-2      Filed 10/07/21       Page 1 of 2

               NOTICE FROM THE OFFICE OF THE UNITED STATES TRUSTEE
    INSTRUCTIONS AND INFORMATION FOR PARTICIPATION IN TELEPHONIC
          SECTION 341 MEETINGS IN THE DISTRICT OF MARYLAND
Because of developing issues with the COVID−19 virus and the national declaration of emergency by the President
of the United States, all § 341 Meetings of Creditors ("Meetings") will be conducted remotely. The information to
participate in § 341 Meeting of Creditors ("Meeting") is set forth below. All parties are encouraged to contact the case
trustee or check the docket for up−to−date information.

The guiding principle to this procedure is to avoid in−person contact, both during the Meetings and in
preparation for the Meetings, even if that means that Meetings cannot be concluded because certain
documents have to be provided at a later time.

Zoom Instructions:

       • By Video: Five minutes before the scheduled time, go to: zoom.us/join and enter the Zoom ID and password
         listed next to the presiding trustee. Wait in the waiting room until you are brought into the conference. Mute
         your mic until your case is called.
       • By Telephone: Five minutes before the scheduled time, dial 301−715−8592 and enter the Zoom ID and
         password listed below next to the presiding trustee. Place your phone on mute until your case is called.

Telephonic Instructions:

       • Five minutes before the scheduled time, dial the call−in number and enter the passcode listed below next to
         the presiding trustee. Place your phone on mute until your case is called.

Conference Guidelines:

      1. Attend from a quiet area where there is as little background noise as possible.
      2. As more than one Meeting will be held during this period, listen for your case to be called. When your case is
         called, unmute and identify yourself.
      3. Please do not speak while the trustee is talking.
      4. If any party is attending the Meeting from the same location as another party, which is discouraged, except
         for persons who live in the same household, use separate devices to participate.
      5. Once the Meeting is finished, hang up or disconnect.
      6. If you become disconnected before your Meeting is finished, call back.
      7. If you are participating by phone:
               a. When speaking during your case, identify yourself.
               b. You must use a touch−tone phone to participate. A landline is preferred, do not use a speakerphone.
               c. Do not put the phone on hold at any time after the call is connected.
      8. No Recording: The Meetings will be recorded by the trustee or United States Trustee. Any other recordings
         are prohibited by law.




ustinst (rev. 04/07/2020)                                                                                   Page 1 of 2
                            Case 21-16343      Doc 2-2      Filed 10/07/21       Page 2 of 2

Bankruptcy Documents: Subject to the guiding principle of avoiding in−person contact, Debtors should be prepared
and have in front of them copies of documents on which they can reasonably expect to be examined (petition,
schedules, statement of financial affairs, tax returns, etc.) or any documents the trustee has indicated in advance that
debtors should have available for questioning. Documents should be provided to the trustee according to normal
requirements when possible.

Debtor Identification: Debtors should provide copies of their photo identification and proof of Social Security
number to the presiding trustee at least 5 days prior to the Meeting. Copies may be provided through debtor's counsel
or directly to the presiding trustee if unrepresented. If such proof has not been provided, the 341 meeting will be held
as scheduled, but will not be concluded until the trustee has received proof of identification. You will receive more
specific instructions prior to your Meeting. Debtor's counsel must verify on the record that they have confirmed their
client's identity prior to the Meeting.




                                          Baltimore and Salisbury Meetings
              Chapter
                    Trustee              Instructions Meeting Contact            Meeting Code
              11    U.S. Trustee         Telephonic Call: (866) 626−4103         Passcode: 2560365#
              7     Monique Almy         Telephonic Call: (866) 560−7013         Passcode: 1944549#
              7     Marc Baer            Telephonic Call: (877) 602−8949         Passcode: 9376532#
              7     Morgan Fisher        Zoom         Zoom ID: 3893−4937−02      Password: 471235
              7     Charles              Zoom         Zoom ID: 8725−8767−61      Password: 676157
                    Goldstein
              7     Zvi Guttman          Zoom         Zoom ID: 4105−8005−00      Password: 613613
              7     Craig Leavers        Zoom         Zoom ID: 6371−3538−61      Password: 209327
              7     Patricia Jefferson   Zoom         Zoom ID: 3431−0354−11      Password: 555101
              13&12 Rebecca Herr         Zoom         Zoom ID: 4941−3185−18      Password: 132513
              13&12 Robert Thomas        Telephonic   Call: (866) 619−6346       Passcode: 8577515#


                                       Greenbelt and Hagerstown Meetings
              Chapter Trustee          Instructions Meeting Contact              Meeting Code
              11      U.S. Trustee     Telephonic Call: (866) 917−2025           Passcode: 2926743#
              7       Merrill Cohen    Zoom         Zoom ID: 7412−3367−61        Password: 264367
              7       Steven Greenfeld Zoom         Zoom ID: 8890−1099−34        Password: 111225
              7       Laura Margulies Zoom          Zoom ID: 3399−3591−37        Password: 341362
              7       Janet Nesse      Zoom         Zoom ID: 9198−1897−06        Password: 681437
              7       Cheryl Rose      Telephonic Call: (877) 953−9751           Passcode: 3784925#
              7       Gary Rosen       Zoom         Zoom ID: 6386−6946−87        Password: 082183
                      Roger
              7                        Zoom         Zoom ID: 8605−5658−92        Password: 091101
                      Schlossberg
              7       Michael Wolff    Zoom         Zoom ID: 6975−9781−91        Password: 374948
              13&12 Rebecca Herr       Zoom         Zoom ID: 9282−0661−46        Password: 132613
              13&12 Timothy            Telephonic Call: (866) 626−4088           Passcode: 5446001#
                      Branigan




ustinst (rev. 04/07/2020)                                                                                    Page 2 of 2
